






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS


THE COUNTY OF EL PASO, TEXAS
AND RICHARD WILES IN HIS
OFFICIAL CAPACITY AS EL PASO
COUNTY SHERIFF,


                            Appellants,


v.


RICHARD ZAPATA, RONALD NANOS,
FRANCISCO LERMA, LANCE BROWN,
EDUARDO RODRIGUEZ, MICHAEL
REYES, AND EDMUNDO VASQUEZ,


                            Appellees.
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No. 08-10-00148-CV



Appeal from the


346th District Court


of El Paso County, Texas


(TC# 2009-2539)


O P I N I O N


	The County of El Paso and Sheriff Richard Wiles, appeal the trial court's denial of their plea
to the jurisdiction and its order compelling arbitration. (1)  We set aside the trial court's order denying
the County's plea to the jurisdiction and compelling arbitration, render judgment granting the
County's plea to the jurisdiction, and dismiss the case for want of jurisdiction.

		BACKGROUND


	Richard Zapata, Ronald Nanos, Francisco Lerma, Lance Brown, Eduardo Rodriguez, Michael
Reyes, and Edmundo Vasquez, Appellees, were employees of the El Paso County Sheriff's Office
(EPSO) and members of the El Paso County Sheriff's Officer's Association (the Association) in
2008.  Under the terms of the Articles of Agreement (the Agreement) executed by Sheriff Apodaca
and the Association, Appellees could appeal a suspension or termination by providing written notice
of appeal within ten working days and choosing to have their grievances heard by the Civil Service
Commission or an arbitrator.  With the exception of Appellee Reyes, each Appellee after suspension
or termination notified Sheriff Apodaca in 2008, that they desired to have their grievances heard by
an independent arbitrator. (2)  However, Appellees' cases were not arbitrated prior to the expiration of
Sheriff Apodaca's term.

	Sheriff Wiles took office on January 1, 2009.  He was not a signatory to the Agreement
governing Sheriff Apodaca's 2008 suspensions and terminations of Appellees. (3)

	Thereafter, on March 10, 2009, the Combined Law Enforcement Associations of Texas
(CLEAT) sent a letter on behalf of Appellees to the County of El Paso, stating that a final list of local
arbitrators had been determined and requested that the parties commence scheduling the pending
suspension cases with the local arbitrators.  The letter also stated that the termination cases would
be scheduled for arbitration through the American Arbitration Association (AAA).  The following
day, the County of El Paso responded to CLEAT and informed it that the use of AAA arbitrators was
unacceptable as it was the County's contention that "the contract" required all disciplinary matters,
including terminations, to be heard by local arbitrators.

	In April and May 2009, each Appellee decided to forego arbitration and submitted a written
request to have their respective grievances heard before the El Paso County Sheriff's Department
Civil Service Commission (the Commission) "pursuant to Sections 10.5.01, et seq. of the El Paso
County Sheriff's Department Civil Service Commission Rules and Regulations," noting that "Sheriff
Wiles is not bound by the arbitration clause in effect at the time." (4)  The Commission found that it
was without jurisdiction to consider the Appellees' grievances. (5)

	Appellees thereafter filed suit in district court appealing the Commission's decision under
Section 158.037 of the Texas Local Government Code.  In their suit, Appellees alleged that the
Commission lacked any evidence to support its no-jurisdiction finding and sought a determination
by the trial court that the Commission should have provided them with a hearing.

	El Paso County responded with a plea to the jurisdiction, noting that Appellees had opted to
appeal their cases to an arbitrator, rather than the Commission, in accordance with Article 9 of the
agreement between the Association and Sheriff Apodaca.  Because Appellees had failed to timely
file notice of appeal to the Commission within ten working days as required by Chapter 10, Section
5.01 of the Civil Service Commission Rules and Regulations, El Paso County contended that the
Commission's decision was not appealable.  They also argued:

The fact that each Plaintiff failed to have the case heard by an arbitrator, prior to the
filing of the appeal to the Commission, is not relevant to the appeal to this court. 
Each Plaintiff was fully aware that their decision to submit the review of the
disciplinary decision to the arbitrator waived the ability to request review by the
Commission.  In addition, each of the Plaintiffs failed to file their appeal to the
Commission within ten (10) working days from the disciplinary action, thus
rendering the appeal untimely.


	Appellees thereafter amended their pleadings, adding an alternative plea in abatement and
motion to compel arbitration.  In the amended pleadings, Appellees contended that "the
aforementioned contract [sic] should be construed together such that a duty to arbitrate the disputes
made subject of this lawsuit devolves upon [El Paso County]."

	El Paso County filed an amended plea to the jurisdiction, to which were attached:  (1) the
minutes showing the Commission's findings of no jurisdiction in Appellees' cases; (2) Sheriff
Apodaca's letters notifying Appellees of their respective suspensions or terminations; (3) Appellees'
requests for arbitration; and (4) Appellees' requests for disciplinary-grievance hearings before the
Commission.  The trial court conducted a hearing on March 3, 2010.  It thereafter permitted El Paso
County to file a trial brief in which El Paso County challenged the trial court's jurisdiction to
consider the appeal from the Commission's no-jurisdiction findings and argued that arbitration was
no longer an available remedy for Appellees. (6)  The trial court denied El Paso County's plea to the
jurisdiction and entered an order compelling arbitration.  Both Sheriff Wiles and the County appeal
that decision.

DISCUSSION

Issues

	In Issue One, El Paso County alleges that the trial court's denial of their plea to the
jurisdiction was erroneous because Appellees had no right to appeal under Section 158.037 of the
Texas Local Government Code.  Tex. Loc. Gov't Code Ann. § 158.037 (West 2008).  In Issues
Two and Three, El Paso County contends that Appellees had not only failed to establish proper
grounds that would permit the trial court to compel arbitration, but that Appellees had otherwise
abandoned arbitration.Appellate Jurisdiction and Appellees' Motion to Dismiss

	We first address the threshold matter of our jurisdiction to  review the trial court's denial of
the County's plea to the jurisdiction.  Juarez v. Tex. Ass'n of Sporting Officials El Paso Chapter, 172
S.W.3d 274, 278 (Tex. App. - El Paso 2005, no pet.) ("We must inquire into our own jurisdiction,
even if it is necessary to do so sua sponte.").  In their brief, Appellees seek to dismiss the County's
appeal for lack of jurisdiction over:  (1) the interlocutory appeal of Sheriff Wiles because he is not
a governmental unit;  and (2) El Paso County's first point of error regarding the trial court's denial
of their plea to the jurisdiction.

	Absent a statute specifically authorizing an appeal, our jurisdiction is restricted to reviewing
final judgments.  Cherokee Water Co. v. Ross, 698 S.W.2d 363, 365 (Tex. 1985).  Section
51.014(a)(8) of the Civil Practices and Remedies Code specifies that a person may appeal from an
interlocutory order of a district court, county court at law, or county court that grants or denies a
governmental unit's plea to the jurisdiction.  Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014(a)(8)
(West 2008).  The term "governmental unit" is statutorily defined to include a county of this state. 
Tex. Civ. Prac. &amp; Rem. Code Ann. § 101.001(3) (West 2005). A county sheriff is not among those
entities or agencies that are statutorily defined to constitute a "governmental unit."  Tex. Civ. Prac.
&amp; Rem. Code Ann. § 101.001(3) (West 2005); Dallas County v. Alejo, 243 S.W.3d 21, 25 (Tex.
App. - Dallas 2007, no pet.) (recognizing that a governmental unit's employee or official, such as
a sheriff, are not included in the statutory definition of "governmental unit").  However, a suit against
an official in his official capacity, here, Sheriff Wiles, is effectively a suit against the County. 
Samaniego, 319 S.W.3d at 828 n.2; Alvarado, 290 S.W.3d at 897 n.2.  We deny Appellees' motion
to dismiss Sheriff Wiles' appeal.  However, because the County of El Paso is statutorily defined to
be a governmental unit, we find that we have jurisdiction to consider its interlocutory appeal of the
trial court's denial of its plea to the jurisdiction.  Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014(a)(8)
(West 2008); Tex. Civ. Prac. &amp; Rem. Code Ann. § 101.001(3) (West 2005).  Therefore, Appellees'
motion to dismiss El Paso County's first issue on appeal for lack of jurisdiction is denied.

Standard of Review

	A plea to the jurisdiction contests a trial court's subject-matter jurisdiction.   Bland
Independent School District v. Blue, 34 S.W.3d 547, 554 (Tex. 2000); Samaniego, 319 S.W.3d at
828.  We review de novo whether a trial court has subject-matter jurisdiction and whether a pleader
has alleged facts that affirmatively demonstrate the trial court's subject-matter jurisdiction.  Texas
Department of Parks &amp; Wildlife v. Miranda, 133 S.W.3d 217, 228 (Tex. 2004); Samaniego, 319
S.W.3d at 828.

	A plaintiff has the burden of pleading facts which affirmatively show that the trial court has
jurisdiction.  Tex. Ass'n of Bus. v. Tex. Air Control Bd., 852 S.W.2d 440, 446 (Tex. 1993).  Thus,
we first consider the plaintiff's petition to determine whether the facts pled affirmatively demonstrate
that jurisdiction exists.  State v. Holland, 221 S.W.3d 639, 642 (Tex. 2007), citing  Texas
Department of Parks &amp; Wildlife v. Miranda, 133 S.W.3d 217, 226 (Tex. 2004).  We construe the
pleadings liberally in favor of the pleader, look to the pleader's intent, and accept as true the factual
allegations in the pleadings.  Texas Department of Parks &amp; Wildlife, 133 S.W.3d at 226, 228.  If the
pleadings are insufficient to establish jurisdiction but do not affirmatively demonstrate an incurable
defect, the plaintiff should be afforded an opportunity to replead.  Holland, 221 S.W.3d at 643; Texas
Department of Parks &amp; Wildlife, 133 S.W.3d at 226.  However, in some instances, a plea to the
jurisdiction may require our consideration of evidence pertaining to jurisdictional facts.  Holland,
221 S.W.3d at 643; Texas Department of Parks &amp; Wildlife, 133 S.W.3d at 227; Bland Independent
School District, 34 S.W.3d at 555.  "A plea should not be granted if a fact issue is presented as to
the court's jurisdiction, but if the relevant undisputed evidence negates jurisdiction, then the plea to
the jurisdiction must be granted."  Holland, 221 S.W.3d at 643, citing Texas Department of Parks
&amp; Wildlife, 133 S.W.3d at 227-28.

Application

	Appellees' petition and amended petition state, "The courts of El Paso County, Texas have
jurisdiction over the parties and subject matter of the claims made the basis of this suit."  
Construing liberally in their favor Appellees' factual pleadings and accepting them as true, we find
it necessary to consider the relevant evidence pertaining to jurisdictional facts.  Texas Department
of Parks &amp; Wildlife, 133 S.W.3d at 226-28; Holland, 221 S.W.3d at 643; Bland Independent School
District, 34 S.W.3d at 555.

	The Agreement sets forth the fundamental steps regarding discipline.  Step One of the
Agreement permits the Sheriff to demote, suspend, or terminate an officer upon personally serving
the officer with a written statement of the charges, which "shall inform the officer that he has ten
(10) working days after receipt thereof to file a written appeal with the Sheriff."  Step Two of the
Agreement requires:

The officer shall state in his notice of appeal that he requests a hearing before the
Civil Service Commission or an arbitrator pursuant to the provisions outlined in this
Agreement.  If the officer requests an arbitration in said appeal, then the officer shall
specifically state that he or she waives the right to appeal to the Commission. (7)


Likewise, Section 10.5.01 of the Commission's Rules and Regulations require that an employee
wishing to appeal a disciplinary action, other than those relating to a probationary rating or
dismissal, "may do so by letter within ten working . . . days from the disciplinary action to the
Commission."

	No party disputes that Appellees timely filed a written notice of appeal to Sheriff Apodaca
seeking arbitration of their grievances.  However, no Appellee affirmatively sought to have his
grievance heard by the Commission within ten working days as required by both the Agreement and
the Commission's Rule 10.5.01.  Thereafter, the Commission determined that it was without
jurisdiction to hear Appellees' grievances, and Appellees sought to appeal the Commission's
determination in the trial court.

	The right to appeal the decision of an administrative agency is a statutory right.  Samaniego,
319 S.W.3d at 830.  Those statutory provisions are mandatory and exclusive, and must be complied
with fully to bestow the district court with jurisdiction over the appeal.  Id.

	In their pleadings, Appellees specifically state that they are appealing the Commission's
decision under Chapter 158 of the Texas Local Government Code.  Section 158.037 of the Local
Government Code specifically provides that "[a]n employee who, on a final decision by the
[Sheriff's Department Civil Service Commission], is demoted, suspended, or removed from a
position may appeal the decision by filing a petition in a district court in the county within 30 days
after the date of the decision."  Tex. Loc. Govt Code Ann. §§ 158.031(1), 158.037(a) (West
2008).  Because the Commission's decision did not demote, suspend, or remove any Appellee from
his employment but, rather, dismissed the grievances for lack of jurisdiction, we find Section
158.037(a) to be inapplicable to Appellees' cases.  Tex. Loc. Govt Code Ann. §158.037(a).  As
Appellees did not have statutory authority to appeal the Commission's decision, we find that the
trial court was without jurisdiction to consider their claims.  Samaniego, 319 S.W.3d at 830.  When
a trial court lacks jurisdiction, then an appellate court has jurisdiction only to set the judgment aside
and dismiss the case.  Samaniego, 319 S.W.3d at 831; Juarez, 172 S.W.3d at 278; see also Tex. R.
App. P. 43.2(e). We, therefore, set aside the trial court's judgment and dismiss the case.  Issue One
is sustained.  Therefore, we do not reach Issues Two and Three.

CONCLUSION

	Appellees' motion to dismiss Sheriff Wiles' appeal for want of jurisdiction is denied. 
Appellees' motion to dismiss the County's first issue on appeal is denied.

	The trial court's order denying the County's plea to the jurisdiction and compelling
arbitration is set aside, and the case against the County is dismissed for want of jurisdiction.


						GUADALUPE RIVERA, Justice

March 9, 2011


Before Chew, C.J., McClure, and Rivera, JJ.

1.   It is well established that a suit against an official in his official capacity is effectively a suit against the
governmental entity.  Samaniego v. Keller, 319 S.W.3d 825, 828 n.2 (Tex. App. - El Paso 2010, no pet.); El Paso
County v. Alvarado, 290 S.W.3d 895, 897 n.2 (Tex. App. - El Paso 2009, no pet.).  For convenience, we will refer
to the Appellants as El Paso County throughout the opinion.
2.   With regard to Appellee Reyes, the record before us contains only his request for a hearing before the
Sheriff's Civil Service Commission and the Commission's ruling of no jurisdiction in regard thereto.  No party has
provided record citations for Reyes' notice of suspension and we find none in the record.

 
3.   The parties agree that Sheriff Wiles took office on January 1, 2009, and Appellees contend that Sheriff
Apodaca's "contract" with the SOA expired on December 31, 2008.
4.   The record does not contain Zapata's request for a hearing before the Commission in regard to his
termination in Internal Affairs Case #SO 08-099; however, the June 1, 2009, Civil Service Commission minutes
show that the Commission found that it had no jurisdiction to consider Zapata's grievance regarding a letter of
termination.  Similarly, although the record does not contain Rodriguez' request for a Commission hearing, the
record shows that the Commission considered his request but found that it had no jurisdiction to hear his grievance.
5.   Appellee Vasquez was suspended in two cases on July 17, 2008, and, in a single letter, requested the
Commission to consider both suspensions.  The Commission determined that it was without jurisdiction to hear
Vasquez' request.  However, the Commission's minutes fail to identify whether one or both of the two suspensions
were before it.  As Vasquez requested that the Commission consider both suspensions, and because no party has
otherwise asserted that the Commission only disposed of one and not both suspensions, we shall consider the Civil
Service Commission's finding of no jurisdiction applicable to each of Vasquez' suspensions.
6.   Appellees contend that El Paso County omitted their plea-to-the-jurisdiction argument in the Second
Amended Plea to the Jurisdiction.  We disagree.
7.   Although El Paso County refers us to Article 9, section 1B, we are unable to find such reference within
that portion of the Articles of Agreement contained in the record; however, we note that the language recited by El
Paso County does appear in Step 2 of the Articles of Agreement.

